            Case 6:17-bk-15915-SC         Doc 11 Filed 07/14/17 Entered 07/14/17 14:15:21                               Desc
                                           Main Document     Page 1 of 2
                                                                          FOR COURT USE ONLY
            UNITED STATES BANKRUPTCY COURT
             CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                               FILED & ENTERED
 Howard Dean Foster and Anna Mae Foster,
                                                                                                      JUL 14 2017

                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                               Central District of California
                                                                                               BY gonzalez DEPUTY CLERK




                                                                         Case No.: 2:17-bk-18322-ER

                                                                         Chapter: 11


                                                         Debtor(s).       ORDER REASSIGNING BANKRUPTCY CASE
                                                                          PURSUANT TO GENERAL ORDER 11-01 TO
                                                                          JUDGE WITH PRIOR RELATED CASE/
                                                                          PROCEEDING

                                                                             WITHIN DISTRICT TRANSFER

                                                                             WITHIN DIVISION TRANSFER


    It appearing that the above-captioned bankruptcy case is properly transferable in accordance with the

provisions of General Order 11-01,

    IT IS HEREBY ORDERED that the above-captioned bankruptcy case be reassigned to Bankruptcy Judge

Scott C. Clarkson for all further proceedings.

  Within Division Transfer

          The bankruptcy case number will remain the same. However, the judge’s initials must be changed to *****
          on all documents filed with the court.


             All adversary proceeding(s) to be transferred

            Do not transfer adversary proceeding(s)

             Other:

July 2013                         Order Reassigning Bankruptcy Case Pursuant to General Order 11-01
                                                                                                                      F 5004-1
            Case 6:17-bk-15915-SC         Doc 11 Filed 07/14/17 Entered 07/14/17 14:15:21             Desc
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  Within District Transfer

        The new bankruptcy case number is [will be issued by the Clerk’s Office after the order is signed].

             All adversary proceeding(s) to be transferred and the new adversary proceeding case number(s) will be
        issued by the Clerk’s Office.

             Do not transfer adversary proceeding(s)

             Other: Related to Case No. 6:17-bk-15749-SC, Foster Enterprises.

                                                                  ###




                Date: July 14, 2017




July 2013                         Order Reassigning Bankruptcy Case Pursuant to General Order 11-01
                                                                                                      F 5004-1
